Filing #Case 9:18-cv-80630-BB
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                                      Exhibit "A" to Defendant's
                                         Notice of Removal
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                               Exhibit "A" to Defendant's
                                  Notice of Removal
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                               Exhibit "A" to Defendant's
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                               Exhibit "A" to Defendant's
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                               Exhibit "A" to Defendant's
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                               Exhibit "A" to Defendant's
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                               Exhibit "A" to Defendant's
                                  Notice of Removal
